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                       UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12
     FEDERAL TRADE COMMISSION,
13                                          No. SACV16-00999-BRO (AFMx)
                           Plaintiff,
14                                          PLAINTIFF’S OPPOSITION TO
                      v.                    DEFENDANT CHARLES
15                                          MARSHALL’S MOTION TO FILE
     DAMIAN KUTZNER, et al.,                AMENDED ANSWER
16
                           Defendants.
17                                          Date: July 12, 2017
                                            Time: 1:30 pm
18                                          Location: Courtroom 7C
19                                          United States Courthouse
                                            350 West 1st Street
20                                          Los Angeles, CA. 90012
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1          Defendant Charles Marshall’s proposed amended answer should be rejected
2    as untimely and inappropriate. He has not shown good cause for the late filing and
3    has failed to comply with his obligation to answer the allegations in good faith.
4    Indeed, he has continued to pursue this motion despite written notice from the
5    Federal Trade Commission (“FTC”) demonstrating that his proposed amended
6    answer is subject to being stricken and contains numerous statements in violation
7    of Rule 11. See DE 219. This includes (1) his failure to cite to the appropriate
8    legal standard for an amendment at this date, despite having the benefit of the
9    FTC’s previously filed opposition explaining that standard and citations to binding
10   Ninth Circuit precedent and (2) continued assertion of insufficient defenses that
11   other courts in this district have sanctioned defendants for pleading. 1 The majority
12   of his filing is his attempt to claim he cannot be held liable. But, because the FTC
13   alleged and has submitted sufficient facts to hold him liable, the FTC is very likely
14   to prevail in this matter.
15   I.    Background
16         A.  In May 2016 the FTC Pled and Supplied the Court Evidence
               Establishing Marshall’s Liability.
17
           On May 31, 2016, the FTC filed its Complaint (DE 1) and accompanying
18
     materials supporting its application for a temporary restraining order against, inter
19
     alia, Marshall and the Corporate Defendants, Brookstone and Advantis. 2 DE 11-
20
     14, 16-18. The FTC alleged and then detailed evidence showing that Marshall was
21
     an officer and owner of Advantis, which was part of the Defendants’ deceptive
22
23
24   1
            As a lawyer licensed to practice before this Court, his failure to cite to the
25   binding legal standard, with knowledge that it is in fact the binding legal standard,
26   is notable.
     2
27        “Brookstone” includes both the California and identically named Nevada
     company. “Advantis” includes both Advantis Law PC and Advantis Law Group
28   PC. “Corporate Defendants” means Brookstone and Advantis collectively.

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1    scheme marketing so-called “mass joinder” lawsuits. The FTC identified Marshall
2    as a director, executive officer, and Secretary of Advantis who participated in the
3    Corporate Defendants’ Wright v. Bank of America (“Wright”) mass joinder.
4    Cmplt. ¶ 12. The FTC alleged that Brookstone and Advantis were a “common
5    enterprise” engaging in unlawful acts and practices. Id. at ¶ 13. The FTC further
6    alleged that although purportedly separate law firms, Brookstone and Advantis
7    advertised the same services on their website, often using identical language, in
8    particular identical language describing the real estate services they offered to the
9    public. Id. at ¶¶ 31-32. Significantly, each firm’s website touted the Wright mass
10   joinder lawsuit as its own. Id. at ¶ 33.
11         In support of its TRO application, the FTC submitted evidence establishing
12   that Brookstone/Advantis were in fact a common enterprise. For instance, the FTC
13   showed that they shared the same address, used the same language on their
14   websites, touted the Wright case as their own, had the same people acting as both
15   Brookstone and Advantis employees, and were controlled by the same individuals,
16   including, most particularly, defendant Damian Kutzner (“Kutzner”). DE 11,
17   TRO Memo. at 5, n.17 Page ID #:245; at 12-13, n. 47-48, 50-51, Page ID #:252-
18   53; DE 17, Ayoub Decl. ¶ 15, Page ID #: 1944. With respect to Marshall, the FTC
19   submitted evidence showing he was an owner and officer, appearing on state
20   incorporation papers for Advantis Law Group with the alleged titles and further
21   appearing on the Advantis website as a “Director.” DE 11, TRO Memo. at 16, n.
22   65-66 Page ID #: 256-57; DE 14, Gales Decl. ¶ 15, Att. 4, Page ID #:1085, 1110.
23   Notably, the Advantis website listing Marshall as a Director touted the Wright
24   matter as its own. Moreover, the evidence showed Marshall appeared in the
25   Wright matter and represented Brookstone clients as an Advantis attorney.
26   Marshall did so with full knowledge of the many legal liabilities his co-defendants,
27   Kutzner, Vito Torchia (“Torchia”), and Geoffrey Broderick (“Broderick”) were
28   facing. TRO Memo at 5, n. 19-20, 17, n. 69, 23, n. 88, Page ID #: 245, 257, 263;

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1    DE 13, Madden Decl. Atts. 36, 38-39, 48, Page ID #:815-16, 818-22, 833-34, 837,
2    841, 904, 908.
3          After the Receiver took control of Brookstone/Advantis it became clear
4    Jeremy Foti (“Foti”) controlled the common enterprise with Kutzner. The FTC
5    shortly thereafter amended its Complaint, adding Foti as a named defendant. DE
6    61, First Amended Complaint (July 5, 2016) Page ID #:3137-58. The FTC made
7    the same allegations against Marshall in the First Amended Complaint.
8          B.     The FTC Has Confirmed Its Allegations Against Marshall.
9          As detailed in the FTC’s memorandum opposing Marshall’s motion to
10   dissolve the PI, the FTC has since confirmed its allegations. 3 Substantial
11   additional evidence establishes that Brookstone and Advantis were a common
12   enterprise, including the existence of shared telemarketing scripts and joint retainer
13   agreements. The FTC has identified letters in which Marshall informed
14   Brookstone clients that Brookstone is transferring them to Advantis, and numerous
15   emails on the same topic. Marshall, in his motion, confirms the common
16   enterprise, stating that the Advantis entities were created by Brookstone
17   employees. DE 238 at 6 (“[B]oth [Advantis] entities were created by Brookstone
18   employees. . . .”). Marshall also sent numerous emails explaining how he was
19   appearing in the Wright case as an Advantis attorney to advance both Brookstone
20   and Advantis’ interests. There is also significant evidence that when Marshall
21   became an owner of Advantis, he knew of the defendants’ checkered histories. He
22   knew that Brookstone and Torchia were facing bar complaints related to their mass
23   joinder activities. He knew that Broderick had just been sued by the Connecticut
24   and Florida Attorneys General for a mass joinder fraud. He knew that the FTC
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     3
27         The evidence discussed herein is detailed and supported with exhibits in the
     FTC’s simultaneously filed opposition to Marshall’s motion to dissolve the PI. See
28   pages 5 to 11.

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1    previously sued Kutzner twice and that his previous enterprise was shut down by
2    criminal law enforcement. Again, in his motion, Marshall explains that when he
3    joined the enterprise he was aware of Brookstone’s wrongful conduct, as alleged in
4    the FTC’s complaint. DE 238 at 7 (“[T]he allegations in the complaint and
5    associated FAC against the other defendants, were one of the reasons why
6    [Marshall] never moved forward with any preliminary plans with Brookstone or
7    persons related to Brookstone.”). Of course, Marshall did move forward and
8    became an Advantis principal, providing the other defendants with the California
9    licensed attorney their scheme needed to continue. As he noted at the time, he did
10   so understanding he was likely taking on significant “liability” in light of the
11   defendants’ practices and history.
12   II.   Argument
13         A.   Marshall’s Motion to Amend His Answer Is Untimely.
14         Marshall’s motion is beyond the Court’s deadline and amendment at this
15   time would prejudice the FTC. The Court’s scheduling order required all amended
16   pleadings by March 6, 2017. DE 169 at 12. Marshall, therefore, must meet the
17   Rule 16(b) “good cause” standard to file this amended answer rather than the more
18   liberal Rule 15(a) standard generally governing amended pleadings. Johnson v.
19   Mammoth Recreations, 975 F.2d 604, 610 (9th Cir. 1992) (“[W]ere it a lesser
20   standard, a party would, in effect, be able to obtain an amendment of the cut-off
21   date without a showing of good cause. That would violate the spirit of Rule 16
22   itself. . . .”). Marshall, instead relied on case law under Rule 15, which is no
23   longer applicable. See DE 238 at 4-5. He did so despite the FTC’s previous
24   memorandum opposing his since-stricken motion to amend in which the FTC
25   explained that Rule 16 is the standard regarding amendments post-dating the
26   pleadings cut-off date in a scheduling order. See DE 219. Under Rule 16, good
27   cause to file an amended pleading requires a showing of diligence. Johnson, 975
28   F.2d at 609. Marshall has not, and cannot, establish diligence because his late

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1    filing cites nothing he could not have alleged at the time he submitted his original
2    answer. Id. at 609-10 (finding no good cause when proposed amended pleadings
3    asserted facts that the party should have been aware of prior to the cut-off date).
4    See also De la Riva Constr., Inc. v. Marcon Eng’g Inc., 2013 WL 394219 at *4
5    (S.D. Cal. Jan. 30, 2013) (denying motion for leave to amend answer, noting that
6    defendant had taken “little to no action” and that this was inconsistent with
7    “diligence.”). The substance of his filing is to assert his contacts with the
8    defendants were minimal and that he is not a proper defendant. Of course, such
9    “facts” would have been plainly known to him prior to the cut-off date. Similarly,
10   his assertion that the FTC somehow improperly pled the case and improperly
11   convinced him to stipulate to the Preliminary Injunction are all allegations that
12   took place in June 2016. If these allegations were true, there is no explanation as
13   to why they could not have been included in a pleading prior to the cut-off date.
14   His previous reliance on the 5th Amendment is no help. It only protects him from
15   incriminating admissions. Facts he believes are exculpatory are, therefore, not
16   protected. United States v. Neff, 615 F.2d 1235, 1240-41 (9th Cir. 1980) (denying
17   5th Amendment claim because answers would not be incriminating). Indeed, the
18   gist of his filing is that the FTC’s allegations are not sufficient, something he
19   plainly could assert while maintaining his 5th Amendment privilege. Additionally,
20   Marshall would not be harmed by a ruling rejecting his filing. Unless the Court
21   determines his invocation was improper when he filed his untimely answer, his
22   invocation operates as a denial, undercutting Marshall’s claimed need to file an
23   amended answer. See, e.g., Industrial Indem. Co. v. Niebling, 844 F. Supp. 1374,
24   1377 (D. Ariz. 1994) (explaining case law on 5th Amendment invocations in
25   answers to complaints).
26         Moreover, even if the Court were to consider Rule 15 alone in deciding the
27   motion to amend, Marshall’s arguments fail. If he were permitted to file his
28   amended answer as proposed, the FTC would be unfairly prejudiced. The FTC

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1    deposed Marshall on March 20, 2017, after the pleadings cut-off date. Now, after
2    the FTC has deposed him, he seeks to plead additional facts and defenses that the
3    FTC was unable to explore at his deposition. For instance, he includes a lengthy
4    narrative statement, the particulars of which the FTC was unaware of and so could
5    not explore at his deposition. Similarly, in his “set off” defense, Marshall claims
6    his liability should be reduced by damages he has suffered at the FTC’s hands.
7    But, by pleading the defense now, he provided no notice of this “defense” and so
8    the FTC was unable to question him on any factual basis for it. His claims in his
9    “vacate stipulations” defense, that the FTC somehow threatened him, are
10   prejudicial for the same reason. By waiting until now to make these claims,
11   Marshall has avoided providing notice to the FTC of his allegations and theory of
12   the case until after the FTC has deposed him and when discovery is nearly over.4
13   None of the cases Marshall cites in his renewed motion are to the contrary. Indeed,
14   his primary authority explained that an amended pleading asserting new facts and
15   claims late in discovery would prejudice the other party. Morongo Band of
16   Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990) (affirming denial of
17   leave to amend “[i]n light of the radical shift in direction posed by these claims,
18   their tenuous nature, and the inordinate delay. . . .”).
19         B.    Even if Allowed, His Motion Should Be Denied Because All of His
                 New “Allegations” and “Defenses” Would Be Subject to a Motion
20               to Strike.
21         Rule 15 permits amendment only when “justice requires.” Fed. R. Civ. P.
22   15(a)(2) (“The court should freely give leave when justice so requires.”) Justice,
23   however, is not served by allowing Marshall to amend his answer to include
24   immaterial and redundant matter and insufficient defenses that would be subject to
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26
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27          Extending discovery is not a good solution. The Court has already held that
     trial must move forward in October in light of the asset freeze and Jeremy Foti’s
28   home. See DE 202.

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1    a motion to strike. Indeed, a motion for leave to amend should be denied if it
2    would be “futile.” See, e.g., Hinton v. Nmi Pac. Enters., 5 F.3d 391, 395 (9th Cir.
3    1993). Here, Marshall’s amended answer adds only an inappropriate narrative
4    statement that is not presented as allegations and then four insufficient defenses.
5    All of these would be struck under Rule 12(f), which states “[t]he court may strike
6    from a pleading an insufficient defense or any redundant, immaterial, impertinent,
7    or scandalous matter.” Fed. R. Civ. P. 12(f). His narrative, aside from being
8    procedurally improper because it is not presented as a series of allegations, is
9    “immaterial.” To the extent it has any meaning, it is in the context of his four
10   asserted defenses, all of which are insufficient.
11         Marshall’s first two defenses, “Failure to State a Cause of Action” and “No
12   Injury,” simply state that the FTC has not pled sufficient facts to hold him liable.
13   These are not affirmative defenses and would be subject to a motion to strike.
14   Zivkovic v. So. Cal. Edison Co., 302 F.3d 1080, 1088 (9th Cir. 2002) (“A defense
15   which demonstrates that plaintiff has not met its burden of proof is not an
16   affirmative defense.”); Roland Corp. v. Inmusicbrands, Inc., 2017 WL 513924 at
17   *2 (C.D. Cal. Jan. 26, 2017) (striking “failure to state a claim” defense and
18   collecting cases striking similar defenses); Hernandez v. County of Monterey, 306
19   F.R.D. 279, 288 (N.D. Cal. 2015) (same).
20         Marshall’s third and fourth affirmative defenses are simply not defenses to
21   the allegations alleged in the complaint because, even if true, they do not bear on
22   his liability for the conduct alleged in the complaint. See Hernandez v. County of
23   Monterey, 306 F.R.D. 279 (N.D. Cal. 2015) (“An affirmative defense . . . is a
24   defense that does not negate the elements of the plaintiff’s claim, but instead
25   precludes liability even if all of the elements of the plaintiff’s claim are proven.”).
26   Here, rather than asserting items that would eliminate liability, Marshall appears to
27   be making separate, unsupportable, claims against the FTC. As to “set off,”
28   Marshall appears to argue that the FTC has somehow incurred liability for naming

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1    him as a defendant, but not that this precludes his liability for the alleged conduct.
2    Not only has the FTC pled sufficient facts, as detailed below, this Court has
3    already found the FTC has a likelihood of success against Marshall. See DE 22
4    (“Thus, based on the information before the Court at this time, Plaintiff has
5    established that it is likely both the Corporate and Individual Defendants could be
6    liable under Section 5 of the FTC Act.”).5 This is, therefore, not a defense and
7    insufficient even if it were. Similarly, his “vacate stipulations” defense has
8    nothing to do with his liability, but appears to relate to the motion he filed to
9    dissolve the TRO and PI. As more fully discussed in the FTC’s opposition to that
10   motion, this “defense” would also be insufficient if at all cognizable. The very fact
11   that the defenses are unintelligible is also a basis to strike them. See Roland Corp.,
12   2017 WL 513924 at *1 (affirmative defenses must be pled with sufficient
13   specificity to give “plaintiff fair notice of the defense”) (citing Simmons v. Navajo
14   City, Ariz., 609 F.3d 1011, 1023 (9th Cir. 2010)).6
15         C.    His Actual Responses Are Not In Good Faith Following a
                 Reasonable Investigation.
16
           As with all pleadings, Marshall’s answer must satisfy Rule 11’s requirement
17
     that its contents be “to the best of the person’s knowledge, information, and belief,
18
     formed after an inquiry reasonable under the circumstances.” Fed. R. Civ. P.
19
     11(b); Mose v. Bret Harte Union High School Dist., 366 F. Supp. 2d 944, 950
20
     (E.D. Cal. 2005) (“Rule 11 creates and imposes on a party or counsel an
21
     affirmative duty to investigate the law and facts before filing, Rachel v. Banana
22
23
     5
24         And now, there is even more evidence before the Court detailing Marshall’s
     involvement and liability. Marshall has not submitted any evidence to the
25   contrary, instead doing nothing more than vainly asserting that the FTC has not put
26   enough evidence before the Court.
     6
27         FTC counsel asked Marshall’s counsel what the legal basis was for these
     defenses during the Local Rule 7-3 conference and he was unable to identify one.
28   Declaration of Benjamin Theisman at ¶ 2.

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1    Republic, Inc., 831 F.2d 1503, 1508 (9th Cir.1987) and further obliges an attorney
2    to dissuade a client from pursuing specious claims, thereby avoiding possible
3    sanctions by the court, as well as unnecessary costs of litigating a worthless claim.
4    Mohammed v. Union Carbide Corp., 606 F. Supp. 252 (E.D.Mich.1985).”).
5    Failing this duty, Marshall seeks leave to file an answer that almost uniformly
6    states he lacks “sufficient information or belief to answer the allegations” and
7    therefore denies them. 7 Indeed, Marshall has in his possession the FTC’s TRO
8    filings (including the more than 1,000 pages of evidence it submitted), the
9    Receiver’s reports to the Court detailing the conduct of the Corporate Defendants
10   and attaching numerous documents such as mailers and scripts, the “hundreds” of
11   emails between him and the other defendants that he has so far refused to produce
12   to the FTC,8 and all of the emails and documents introduced as exhibits at
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19          Presumably he means that he “lacks knowledge or information sufficient to
     form a belief about the truth of an allegation,” the wording required by Rule
20   8(b)(5). Fed. R. Civ. P. 8(b)(5). His failure to state that he lacks knowledge as well
21   as information technically means he has admitted all of these allegations. See
     Gilbert v. Johnston, 127 F.R.D. 145, 146 (N.D. Ill. 1989); State Farm Mut. Auto.
22
     Ins. Co. v. Riley, 199 F.R.D. 276, 278 (N.D. Ill. 2001) (highlighting the practices of
23   “careless defense counsel” who fail to follow the phrasing of Rule 8(b)); Frank v.
24   Wilbur-Ellis Co. Salaried Emps. Ltd Plan, 2008 U.S. Dist. LEXIS 83127 at *10
     (E.D. Cal. Sept. 24, 2008) (same). Astoundingly, the FTC already identified this
25   facial deficiency in his pleadings, DE 219, and Marshall has done nothing to fix
26   even this.
     8
27         Marshall has repeatedly stated he will produce these documents but so far
     has not. The FTC recently started the Local Rule 37-1 motion to compel practice
28   because of Marshall’s inappropriate obstinacy. See Theisman Declaration at ¶ 3.

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1    Marshall’s and Foti’s depositions.9 He has an obligation to review these materials
2    and provide answers accordingly. Ksure N.Y. Corp. v. Richmond Chem Corp.,
3    2013 U.S. Dist. LEXIS 6649 at *4 (N.D. Ill. Jan. 16, 2013) (striking an answer for
4    unbelievable assertions that the party lacked knowledge or information). His
5    proposed answer does not comply with this duty.
6          Marshall’s claimed defenses also violate Rule 11. As explained above, his
7    failure to state a claim “defenses” are not defenses and his assertions that the FTC
8    has incurred liability by pursuing this case against him are similarly not defenses.
9    In particular, the set-off “defense” violates Rule 11 because Marshall is unaware of
10   any legal basis for this alleged “defense.” When the FTC questioned Marshall’s
11   attorney during the Local Rule 7-3 meet and confer, Marshall’s attorney conceded
12   that he was unaware of what his legal basis was for the “defense.” He could not
13   articulate if it was a violation of a rule, statute, or common law theory. 10
14
15   9
            Marshall claims a lack of “information or belief” for the allegations in
16   paragraphs 8-12, 14-67, and 70-87. For example, he claims he lacks information
17   or belief as to whether defendants Kutzner and Foti had control over any of the
     Corporate Defendants despite testifying at his deposition that they were the
18   principal decision makers for Advantis. Deposition of Charles Marshall (attached
19   to the FTC’s Opposition to Marshall’s motion to dissolve the PI) at 48 (lines 14-
     21), 80 (lines 2-14), and 103 (lines 8-16). Similarly, paragraphs 17 through 36
20   describe the content of mailers used by the Corporate Defendants and the content
21   on their websites, all of which has been provided to Marshall through the FTC’s
     TRO filings. Nonetheless, Marshall refuses to admit any of these facts, and instead
22
     asserts he lacks “information or belief.” Amazingly, he claims in his answer that
23   he lacks information or belief regarding these allegations while stating in his
24   motion that he had actual notice of these facts to explain why he insisted on
     creating the Advantis entities in the first place. DE 238 at 7. He cannot have it
25   both ways.
26   10
           The FTC even asked if he was asserting a Rule 11 violation, and Marshall’s
27   then counsel was equivocal. At most, he suggested Rule 11 might have something
     to do with the “set off” defense. If this were an allegation that the FTC violated
28   Rule 11, that is not a defense. Theisman Declaration at ¶ 2.

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1    Moreover, he struggled to identify any specific acts taken by the FTC or its staff to
2    substantiate the defense. Nonetheless, he refused to withdraw this proposed
3    “defense.” Courts have sanctioned Defendants under Rule 11 for pleading
4    defenses like those in Marshall’s proposed amended answer. SEC v. Keating, 1992
5    WL 207918 (C.D. Cal. July 23, 1992). This case law is particularly appropriate
6    here because Marshall continues to seek leave to file his answer asserting these
7    defenses with notice of the case law and reasoning as to why these are not
8    defenses. See DE 219.
9          D.   The FTC’s Allegations are Sufficient and Marshall Remains
                Likely to Be Held Liable.
10
           Marshall is very likely to be held liable in this matter. The FTC sufficiently
11
     pled that Marshall was an owner and officer of Advantis, a member of the common
12
     enterprise, and then detailed the facts supporting the common enterprise allegations
13
     and the substantive law violations committed by the common enterprise. Initially,
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     his assertion is highly suspect given that this Court has already found that the FTC
15
     “proffered sufficient evidence to demonstrate a likelihood of success on its Section
16
     5 claim.” DE 22, TRO Opinion at 11, Page ID #:2332. Indeed, the Court ruled
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     that the facts before it at the time of the TRO established a likelihood of success
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     against the “Individual Defendants,” including Marshall. Id.
19
           As a practical matter, Brookstone/Advantis were a classic common
20
     enterprise. FTC v. J.K. Publications, Inc., 99 F. Supp. 2d 1176, 1202 (C.D. Cal.
21
     2000) (common enterprise shown where corporate defendants were under common
22
     control; shared office space, employees, and officers). The FTC alleged, and
23
     Marshall does not dispute, that he owned Advantis Law Group. Furthermore, as
24
     alleged and then detailed with evidence, Marshall was working with
25
     Brookstone/Advantis employees on Brookstone matters, particularly Wright – the
26
     largest mass joinder remaining for Brookstone, to advance the common enterprise.
27
     As an admitted owner of a member of the common enterprise, Marshall will be
28
     held liable for injunctive relief. See FTC v. Publishing Clearing House, Inc., 104
                                               11
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1    F.3d 1168, 1170-71 (9th Cir. 1997) (“president” of company who performed no, or
2    minimal, services for company liable).
3          Furthermore, Marshall will also be monetarily liable because he had the
4    requisite knowledge for the injury from the common enterprise. FTC v. Grant
5    Connect, LLC, 763 F.3d 1094, 1101-02 (9th Cir. 2014); Publishing Clearing
6    House, Inc., 104 F.3d at 1170-71. Indeed, the Ninth Circuit has recently confirmed
7    that an individual defendant is to be held jointly and severally liable with the
8    common enterprise. FTC v. Commerce Planet Inc., 815 F.3d 593 (9th Cir. 2016)
9    (“If an individual may be held personally liable for corporate violations of the FTC
10   Act under this test, nothing more need be shown to justify imposition of joint and
11   several liability for the corporation's restitution obligations.”). The FTC alleged,
12   and has now proven, that Marshall became an owner and operated the common
13   enterprise with knowledge of his co-defendants’ history of fraudulent conduct.
14   That he was an active owner and principal, acting to advance the interests of the
15   common enterprise, will alone be sufficient to establish the requisite knowledge.
16   FTC v. Affordable Media, 179 F.3d 1228, 1235 (9th Cir. 1999). (“The extent of an
17   individual’s involvement in a fraudulent scheme alone is sufficient to establish the
18   requisite knowledge for personal restitutionary liability.”). Marshall’s specific
19   knowledge of Brookstone’s and Torchia’s bar troubles and Kutzner’s dubious
20   history is already sufficient to hold him monetarily liable. See Publishing Clearing
21   House, 104 F.3d at 1171 (holding nominal president liable based on that person’s
22   knowledge that scheme’s principal had a criminal history). Indeed, the evidence of
23   his knowledge includes an email in which he admits he is taking on “liability” in
24   light of his co-defendants’ past practices. In addition, Marshall’s failure to ever
25   review any of the marketing or perform any due diligence on the legality of the
26   sales process further shows that Marshall was, at best, recklessly indifferent to the
27   illegality or intentionally avoiding the truth, again rendering him monetarily liable.
28   Grant Connect, LLC, 763 F.3d at 1101-02 (knowledge established if individual is

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1    “recklessly indifferent to the truth or falsity of a misrepresentation, or had an
2    awareness of a high probability of fraud along with an intentional avoidance of the
3    truth.”) (quoting Publishing Clearing House, Inc., 104 F.3d at 1170-71).
4          Marshall’s new talisman, FTC v. Swish Marketing, 2010 WL 653486 (N.D.
5    Cal. Feb. 22, 2010), changes nothing. Swish Marketing was decided on a 12(b)(6)
6    motion, prior to discovery, in which the complaint originally pled only that the
7    individual defendant was the CEO.11 Here, Marshall’s time to file a 12(b)(6)
8    motion has long since passed. Furthermore, the FTC alleged that Marshall was an
9    owner, Director, and specifically alleged that he took part in the scheme by
10   representing the consumer victims in the defendants’ largest mass joinder.
11   Importantly, unlike in Swish Marketing, the FTC moved for a TRO, detailing even
12
13   11
            The Swish Marketing court’s ruling contradicts established Ninth Circuit
14   precedent. That court relied on the lack of facts establishing knowledge when
15   granting the motion to dismiss. Id. at *6. As the FTC case law is clear, the FTC
     does not need to prove knowledge to hold an individual defendant liable for
16
     injunctive relief. Publishing Clearing House, 104 F.3d at 1170 (explaining
17   standard for injunctive relief, requiring only proof of corporate wrongdoing and
18
     authority to control). Knowledge is only required for restitutionary relief. Id. at
     1171 (explaining separate standard for restitutionary relief, requiring proof of proof
19   of knowledge). Also contrary to Swish Marketing, having official authority to
20   control as a corporate officer is sufficient for injunctive relief. Publishing Clearing
     House, Inc., 104 F.3d at 1170 (stating the standard for injunctive relieve and
21   concluding that the defendant’s “assumption of the role of president of PCH and
22   her authority to sign documents on behalf of the corporation demonstrate that she
     had the requisite control over the corporation”). The FTC pled and Marshall
23
     concedes these facts. Further facts are only required for restitutionary relief. And,
24   here, the FTC alleged them. In Swish Marketing, the complaint initially pled only
25
     that the defendant was an officer. The Court found this insufficient in light of
     Publishing Clearing House, where the FTC had proved the corporate officer had
26   also for one week worked for the operation answering incoming phone calls. 2010
27   WL 653486 at *5. Here, the FTC further alleged that Marshall took part in the
     scheme, representing the Brookstone clients in the Wright matter and touting the
28   Wright case as his on the Advantis website.

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1    more facts. Because Marshall never objected to the pleadings, and in fact
2    stipulated to the PI following a finding the FTC was likely to succeed, these
3    additional allegations are part of the Complaint as a matter of consent. 12 The
4    ruling in Grisham v. Philip Morris Inc., 670 F. Supp. 2d 1014 (C.D. Cal. 2009), is
5    particularly instructive. There, the plaintiff raised new facts necessary to support
6    their claim for the first time on summary judgment. The court held that because
7    the parties had been aware of the facts, that the issues were in dispute, and that the
8    parties had the opportunity to conduct discovery, the pleadings would be amended
9    to conform to the later discovered facts under Rule 15(b) in the context of the
10   summary judgment motion. Id. at 1023. See also DE 57, Finding of Fact 9
11   (Marshall stipulated that “[w]eighing the equities and considering the FTC’s
12   likelihood of ultimate success, a preliminary injunction order with an Asset
13   freeze, limited expedited discovery as to the existence and location of Assets and
14   Documents, and other equitable relief is in the public interest”) (emphasis added).
15
16
     12
17           See Rule 15(b) (“When an issue not raised by the pleadings is tried by the
18
     parties’ express or implied consent, it must be treated in all respects as if raised in
     the pleadings. A party may move—at any time, even after judgment—to amend
19   the pleadings to conform them to the evidence and to raise an unpleaded issue. But
20   failure to amend does not affect the result of the trial of that issue.”); Fed. R. Civ.
     P. Rule 65(a)(2) (“evidence that is received on the motion and that would be
21   admissible at trial becomes part of the trial record and need not be repeated at
22   trial”.)Hutchins v. Clarke, 661 F.3d 947, 957 (7th Cir. 2011) (“The test for consent
     is ‘whether the opposing party had a fair opportunity to defend and whether he
23
     could have presented additional evidence had he known sooner the substance of
24   the amendment.’”); Healy v. MCI WorldCom Network Services, Inc., 220 Fed.
25
     Appx. 626, 629 (9th Cir. 2007) (deeming facts and unpled theory of recovery
     identified during discovery a part of the complaint, over the objection of the
26   defendant); Sherwin Williams Co. v. JB Collusion Services Inc., 186 F. Supp. 3d
27   1087, 1097 (S.D. Cal. 2016) (implied consent exists when party had knowledge of
     allegations and a “sufficient opportunity to conduct discovery on the issues,”
28   including when issues are raised in a deposition or at summary judgment).

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1    Marshall’s argument, that the Complaint standing alone is somehow deficient,
2    made near the end of discovery when he has full notice of the FTC’s theory of
3    liability, is precisely the type of dilatory argument Courts reject.
4           E.   Marshall’s Request That Some Unspecified Portion of the FTC’s
                 Complaint be “Struck” is Inappropriate.
5
            Marshall’s incoherent request that some portion of the FTC’s complaint be
6
     struck is inappropriate. Courts in the Ninth Circuit are loathe to strike allegations
7
     in a complaint. In contrast to motions to strike insufficient defenses, specifically
8
     called for and permitted under Rule 12(f), it is not appropriate to move to strike
9
     allegations in a complaint on the basis that they are untrue or somehow
10
     inflammatory. The Ninth Circuit characterizes such motions as inappropriate
11
     attempts to obtain a ruling on the merits of a claim under Rule 12(f). Instead, the
12
     Ninth Circuit states that the only vehicle to challenge complaint allegations is a
13
     motion for judgment, such as a 12(b)(6) motion. Whittlestone, Inc. v. Hand-Craft
14
     Co., 618 F.3d 970, 974-75 (9th Cir. 2010). Regardless, Marshall has failed to
15
     identify which allegations should be struck or why.
16
     III.   CONCLUSION
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            Marshall has not, and cannot, provide good cause for leave to file his
18
     amended answer. Therefore, his motion should be denied.
19
20                                            /s/ Benjamin J. Theisman
21                                           BENJAMIN J. THEISMAN
                                             GREGORY J. MADDEN
22
                                             Attorneys for Plaintiff
23                                           FEDERAL TRADE COMMISSION
24
     Executed this 22nd day of May, 2017.
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                                PROOF OF SERVICE
1
         I, Benjamin J. Theisman, on May 22, 2017, served the PLAINTIFF’S
2    OPPOSITION TO DEFENDANT CHARLES MARSHALL’S MOTION TO FILE
     AMENDED ANSWER through the ECF system.
3
4                                       /s/ Benjamin J. Theisman
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